                                                                            CLERK'
                                                                                 S OFFICE U.S.DISQ COURT
                                                                                  AT ABINGDON, VA
                                                                                       FILED

                   IN TH E UN ITED STA TES DISTR ICT COURT                        2E2 12 2012
                  FO R T H E W E STER N D ISTR IC T O F W R G IN IA              JU   C.   LE% LE
                            BIG ST O N E G A P D IW SIO N                       BY:



M ELIN D A SC O TT ,

                     èlaintiff,                             casexo.2:18cv L1.
                                                                            3
M.                                                                 O PIN IO N

A N D R EW C A R L SO N ,E T A L.,                          B y: Jam esP.Jones
                                                            United StatesDistrictJudge

                     D efendants.

      Pro se litigant M elinda Scott has subm itted an application to fle a civil

action w ithoutprepaying fees orcosts l ln herproposed action based on diversity
                                            .




jurisdiction,Scottbringsclaimsofdefamation,publication ofprivateinformation,
and violation of the Fourth A m endm ent against A ndrew Carlson,w ho allegedly

created a w ebsite containing statem ents about Scott;Joshua M oon,w ho operates

an internet forum containing statem ents about Scott; and Sherod D eG rippo,w ho
 '
ownsa ((wiki''containing statem entsaboutScot1.z R ile 1w illpermitthe filing of

the action withoutprepaym entoffees and costs,lwilldism iss itbecause Scott's

allegations fail to state a claim on w hich relief m ay be granted, for the reasons

discussed below .


      1 Thisis Scott's eighth pro se case filed in this courtw ithin the lasttwo yeurs. A l1
ofthem have been dism issed.
       2A   W   ikiis aw ebsite thatuserscan collaboratively m odify.


 Case 2:18-cv-00047-JPJ-PMS Document 3 Filed 12/12/18 Page 1 of 8 Pageid#: 23
      Scott'sConiplaintallegesthe following facts:

      In Decem ber 2016, Scott discovered à website that M drew Carlson had

created containing a listofm en with whom she allegedly had sexualrelations. ln

M arch 2017, Carlson posted a video on YouTube that contained biographical

inform ation aboutscottand her children,and allegations and questions aboutthe

patem ity ofherchildren.In thatvideo and in others,Carlson also m ade statem ents

(dfalsely attributing sexualactsto (Scottqwhich are untrue,including a supposed
sexualactwith a former (unnamed) landlordy''and alleging thatScotthas been
m arried m'ore than tw ice. Compl.! (e). Carlson also created an image depicting

Scott's head on a nude body. Scottasserts that C arlson obtained the biographical

inform ation abouther fam ily from a protective order issued by a V irginia state

court.

      Joshua M oon owns Lolcow LLC,a corporation that runs loiwi Farm s,an

intem et forum . Scottasserts thatM oon published on Kiwi Farm s biographical

infprm ation abouther and her fam ily,along with statem ents that she has had $(9

husbands by 29,''has a list of husbands,hashad sexualrelations w ith a form er

lapdlord, is a itgig:ntic whore''apd a ççkike,'' and (çchanges husbands like she

changespanties.''Compl.!h (xvii).ScottassertsthatM oon obtainedinformation
abouther from C arlson.



Case 2:18-cv-00047-JPJ-PMS Document 3 Filed 12/12/18 Page 2 of 8 Pageid#: 24
              Sherrod DeGrippo owns Encyclopedia Dram atica,a website that its users

can collaboratively m odify.            Scott alleges that D eGrippo published on

EncyclopediaDramaticabiographicalinformation aboutherand herfamily,alonj
      '

wità statementsthatScou hashad sexualrelations wiià a forme
          .
                                                         . rlandlord,'has
((four baày daddies,''is a dshorney jewess,''and is Gsincestuous.'' compl.T (k).

Scottallejes that DeGrippo obtained information about her from Carlson and
M oon.

              Scott's Com plaint asserts claim s of defam ation, publication of private

inform ation, and violation of the Fourth Am endm ent'against Carlspn. lt also
                                              '                          '          '       '
                                .         .               '




asserts claiins of dçfam ation and violation of the Fourth A m endm ent against both

M oon and DeGrippo. Scott seeks an injunction ordering the rem oval of the
statem ents described above and m onetary dam ages.

                                              I1.

              Fçderalpleading standards reqpire that a complaint contain ardtshort and

plain statem entofthe claim show ing thatthepleaderis entitled to relief.'' Fed.R.

Civ.P.8(a)(2). ln evaluating a complaint,the courtacceptsastrue al1well-pled
façts and construes those facts in the light m ost favorable to the plaintiff. N em et

Chevrolet,Ltd.v.Conyumeraffairs.com,Inc.,591 F.3d 250,255 (4th Cir.2009).
  .                     .   '       '               .          .
                                                                                        '




However,ddgtqhreadbarerecitalsofthe elem entsofacause ofaction,supportedby

mereconclusory statements,donotsuffice.''Ashcro? v.Iqbal,556 U.S.662,678


 Case 2:18-cv-00047-JPJ-PMS Document 3 Filed 12/12/18 Page 3 of 8 Pageid#: 25
(2009). A documentfiled pro se isto be liberally constm ed,Estelle v.Gamble,
429 U.S.97,106(1976),butthe EEcourtisnotrequired to recognize çobscure or
extravagant claim s defying the m ostconcerted efforts to unravelthem ,''' W eller v.

Dep 'tofsoc.A zam,901F.2d387,391(4th Cir.1990)(quotingBeaudettv.C# of
Hampton,775F.2d 1274,1277(4thCir.1985)).
      A s to Scott's allegation of publication of privatè inform ation agaihst

C arlson, she fails to state a claim on w hich relief m ay be granted because N ew

Y ork law containsno such cause ofaction 3 dtN ew Y ork State doesnotrecognize
                                               .




the com m on-law tod of invasion ofprivacy exceptto the extentitçom es within

Civil('.Ri
       .'
            sLaw jj 50 and: 51',''which Sçcreat
         'ght                    ..           .
                                               e a cause of ac'tion
                                                     '          . '
                                                                    in favor of
                                                                      1.
                                                                     .. .
                                                                                    an#
                                                                          ' . ..J.. .

person w hose nam e,portrait,orpicture is used foradvertising purposes orfortrade

w ithoutthe plaintiff s consent.'' Farrow v.Allstate Ins.Co.?862 N .Y .S.Zd 92,93
                          '
            ,




(N.Y.App.Div.2008).Scotthasnotalleged any factsthatwould supportacause
ofaction underCivilRightsLaw jj 50 and 51,and thusshe failsto state aNew
Y ork invasion ofprivacy claim .



      3 In this diversity action, V irginia's choice-of-law rules govem . See K laxon Co.
k'StentorElec.Mfg.Co.,313 U.S.487,496 (1941).'In tortactions,Virginia appliès'the
1aw ofthe place ofthçwrong,McM illan v.M cM illan,253 S.E.2d 662,663 (Va.1979),
which isthe plaçe ofpublication in defam ation actions,see W iestv.E-Fense,Inc.,356 F.
Supp.2d 604,608 (E.D.Va.2005) (applying Virginia 1aw after determining thatthe
jtatementsatissue werepublished on a websitç controlled from a loçation ip Virginia).
Rere,ScottallegesthatCarlson,aNew York resident,published the statem entsatissue
on a w ebsite thathe creyted and on Y ouTube. A ccordingly,N ew York 1aw applies to
Scott'sclaim s agyinstCarlson.
                                          -
                                              4-
Case 2:18-cv-00047-JPJ-PMS Document 3 Filed 12/12/18 Page 4 of 8 Pageid#: 26
       A s to Scott's allegations of Fourth Am endm ent violations against a1l

defendants,she fails to state a claim on w hich relief m ay be granted because she

àas nöi àlleged àny jovernmental intlusion on her privacy. dtl-l-jhe Fourth
Am endm ent cannot be translated into a generalconstitutional(right to privacy.'

ThatAmendmeptpiotectsindividualprivacy againstcertain kindsofgovernmental
   .    '       '        '   '.                           .   -   ''       -           . '.
                                                                                          .   .
                                                                                                  -   '   ' .




intrtpion .              .'' kqtp v. United States,'389 U.S.347, 350 (1967). Scott's
                                                                       .




Com plaintallegesFoul-th Am endm entviolations solely againstprivate individuals,

and thus she failsto state a constitutionalinvasion ofprivacy claim .

       Scott's allegations of defam ation against all defendants also fail to state

claim s on w hich relief m ay be granted. Her allegations against M oon and

D eGrippo fail because the federal Com m unications D ecency Act bars actions

ççunder(any Stateorlocal1aw thatisinconsistent'with thetermsofj230,''which
establishesa isgeneralruleth>tprovidersofinteractive com puterservicesare liable

only for speech that is properly attributable to them .''4 N em et Chevrolet, Ltd,591

F.3d at254 (quoting 47 U.S.C.5230(e)(3)). They are nptliabl
                                  '   l   FI& '!'   ' '
                                                          J
                                                            e for enabling the
                                                                 -
                                                                 .      . ..   .       ,,



unlawfulcontentofothep to be posted online.Id.

       Scott'sallegations ofdefam ation againstM oon and D eG rippo do notcontain
                    ''                              .                              ,



facts sufticient to attribute the statem ent'
                                            s on their interactive w ebsites to thsm .


       4 Thestattltedefinesan çslilnteractivecomputerservice''asçsany information
service,system ,pr accesssoftwareproviderthatprovidesorenab1es cpm puteraccessby   .

multipleuserstoacomputerserver.j,47 jj.S.C.jza(;(j;(z;.
            .




Case 2:18-cv-00047-JPJ-PMS Document 3 Filed 12/12/18 Page 5 of 8 Pageid#: 27
Although theComplaintassertsthatM oon and DeGrippo published the statem ents,

this m erely recites an elem eùt of the cause of action w ithout further factual

sttpjort. Thug,âlthough jofneofthestatementsmay othem isebe defamatory,the
Complaint lacks facts sufficientto treat M oon and DeGrippo as the statem ents'

publishersk

                   scott'sallegation o?defamation againstcarlson also f-
                                                                       ailsto stateaclaim.
ln New York,defamation is çlthe injury to one's reputation either by written
expression, which is libel, or by oral expression, which is slander.'' Idema v.

Wagneç, 120
         . .
          y.
             F.
              r . .  ,   .
                                    N.Y.2000). dt-l-he elem ents.are a false
                Supp.2d 361,365 (S.D.
                                                     .       .'           .
                                                                                          '   .
                                                                                                  ' . ..
                                                                                                           .
                                                                                                               .
                                                                                                                   .
                                                                                                                        .        .   ,




statem ent,published withoutprivilege orauthorizatiop to athird party,constim ting

faulta!judged by,ata minimum ,a negligence standard,and,itmusteithercàuse
specialharm orconstitutedefamationperse.''Dillop v.City ofN K,704N.Y.S.Zd
               (N.Y.App.Div. 1999). Special harm is harm that causes tithe loss of
som ething having econom ic orpecuniary value''and thatstel s directly from the

ha
' rm to reputation. M at
          . ' .
                       l
                         herson v.M arc
                         -
                             .
                                 .
                                 ,
                                     .
                                      .
                                        hello,473N .Y.S.Zd. 998,
                                                 ,
                                                            .
                                                                1000 (N.Y.App.
                                                                      '
                                                                           . .
                                                                                  .                            ,




Div.1984) (internalquotation marks and citation omitted). A plaintiffsuing in
.
                                                 '
                                                         '
                                                                              '       '                        '                 '




slander m ust plead special harm unless the statem ent falls into one of four

categori:esof
           .
             pe.rsede'famation:(1)statementsthattheplaintiffcomm ittedacrim e;
               '
                                         .
                                             '




(2) statements that tend to injure the plaintiff in his or her trade,business?1 'pr
     .                                                            '               ''
                                                                                  '                .               t'   ' '' '
                                                                                                                                 s



profession;(3)statementsthattheplaintiffhascontracted a loathsome disegse;or

                                                                  -   6-
    Case 2:18-cv-00047-JPJ-PMS Document 3 Filed 12/12/18 Page 6 of 8 Pageid#: 28
(4) statements that impute uhchastity to a woman. 1d.at 1001. ln contrast,a
plaintiff suing in libel m ust plead special harm unless the statem ent Gttends to

expose the plaintiffto public contem pt,ridicule,aversion or disgrace,or induce an
          .                             .       1                            '                                  .       '


evilopinion ofhim in the m inds ofright-tllibkihg persons,and to deprive him of
'                                   .                           i s.     '
                          ,     ,           .                                    .   .

their ftiendly iùtercoùrse in soclety.'' 1d.at 1001-202 (qùoting Rinaldiv.Holt,
Rinehart(î Winston,346 N.E.2d 1299,1305 (N.Y.1977)). Claimsalleging libel
and slandermustbe broughtwithin oneyearofthe statement'spublication. àee

Lancaster v.Fown of EastHampton,864 N.Y.S.Zd 537,538 (N.Y.App.Div.
2008).
     '

                         Federalpleading standardsrequirethata plaintiffspecifcally allege each act
         ..                                     .           *        .                                     ..       '




of defam ation. English Boiler 4 Tube,Inc. v. ITZCC.Rouse tt Son,lnc ,N o.97-

2397,1999
        )..:
            W L 89125,
              '
              ..,,
                        at*3 (4th Ci
                     :.'. . ';
                         . j.   .  .
                                    r.Feb.23,1999)(unpublished)(citing the               ,



requirem ent that itin order to plead defam ation, a plpintiff should allege specisc

defamatory comments(includingqthetime,place,content,speaker,and listenerof
the alleged defam atory m atter.'' Caudle v. Thomasop, 942 F. Supp.635, 638
                     '                                  .       .'                                   . .                    .' .




(DID.C,1996)(internplquot
                        ,ationmarksandcitatipn orpittedl).q
                          .                         .                                        ,   .   .




                     First,the D ecem ber 2016 list of m en w ith w hom Scottallegedly had sexual

relations and thç M arch 20 17 video containing statem ents questioning the patem ity

of Scott's children occurred m ore than a year priorto the com m encrm entof this

action, and thus the claim s arising from them are ban'
                                                      ed by the statute of



    Case 2:18-cv-00047-JPJ-PMS Document 3 Filed 12/12/18 Page 7 of 8 Pageid#: 29
lim itations. ln addition,the im age depicting Scott'shead on anotherbody doesnot

rise to the levelof reputationalharm required to show libelper se,and Scottdoes

notplead specialharm . Likew ise,the statem entthatScotthas been m arried m ore

than tw ice does not fall into one of four categories show ing slander per se.
  I         '.
                 .




Remaining is Scott's allegation that ççwithin (the M arch 201tq video,and osher
                                '    .                                    .              '



videos''Carlson made statements ddfalsely attributing sexualactsto lscot'tlwhich
are untrue,including a supposed sexualactwith a former (unnam ed)landlord.''
                                                          '
                                         .


Compl.!(e). Thisclaim failsto satisfythefbderalpleadingrequirementthatScott
specifcally allegç e>ch actofdefam ation apd the tim ethateach açtoccurred.

                                             111.

      For the foregoing reasons, 1 w ill allow the fling of the action w ithout
                                                                   '                .        . '
                                                                          .   .   . .




prepaym entoffees and costs,but1willdism issthe Com plaint. A separate Order

w illbe entered forthw ith. 5

                                                          D A TED : D ecem ber 11,2018

                                                          /s/ Jam es P.Jonès
                                                          U nited StatesD istrictJudge




      5 ln addition thçre is a queFtion in this case as to whether the courthaspersopal
                                             .


jurisdiction over the out-of-state defendants. See Young v.New Haven Advocate,315
F.3d 256, 263 (4th Cir.2002) (requiring for personaljurisdiction over out-of-statç
internetpublishertheshowing ofan intenttotargetand focuson in-statereaders).
                                                 -   8-
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